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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,
                                                          DECLARATION IN SUPPORT
                       Plaintiff,
                                                         OF MOTION TO EXTEND TIME
                   - against -                             TO FILE OBJECTIONS TO
                                                            PRESENTENCE REPORT
TERRY ALBURY,
                                                                  18-CR-67 (WMW)
                                  Defendant.


        JANEANNE MURRAY declares as follows:

        1.     I am one of the counsel of record for the defendant, Terry Albury. I submit this

declaration in support of his motion to extend by two weeks the time for the parties to file

objections and proposed amendments to the presentence report.

        2.     Currently, pursuant to Local Rule 83.10, these objections are due on June 28,

2018.

        3.     Co-counsel Josh Dratel and I seek an extension to July 12, 2018. We seek this

additional time so that we can more effectively draft our response to the presentence report, in

light of various hearings and filing deadlines in our other professional matters.

        4.     The government does not oppose this request.

        Dated: June 25, 2018                          MURRAY LAW, LLC

                                                      By: _s/JaneAnne Murray
                                                      JaneAnne Murray, #384887
                                                      The Flour Exchange Building
                                                      310 Fourth Avenue South, #5010
                                                      Minneapolis, Minnesota 55415
                                                      Telephone: (612) 339-5160
                                                      jm@mlawllc.com

                                                      ATTORNEY FOR TERRY ALBURY
